 

   

Case 1:18-Cv-20177-K|\/|I\/| Document 1-1 Entered on FLSD Docket 01/16/2013_1 kRa&a}j of @\g` (_M\

lN THE CI_RCUI'I` COURT OF THE EI..EVENTH .]'UDICIAL CI'RCUIT IN AND
FOR MIAMI-DADE COUNTY, FLOR]])A

 

AI-IE REALTY ASSOC, LLC, a Florida limited Case No..' 17-029381 CA 01
liability company,

Plaintiff,
vs.

MlAMl-DADE COUNTY, FLOR]DA, THE
VlLLAGE OF M[AM] SI~IORES, and ISMAEL
NARANJO, individually, and in his capacity as

Building Offieial for The Village of Miarni

Shores,

Defendants.

 

 

 

 

CIVIL ACTION SUMMONS

'I`HE S'l`A'l`E OF FLORIDA
To each Sherriff of the Slate:

 

YOU ARE COMMANDED to serve this Sz.rmmom‘ and a copy of the Ccmplaim in this _ _r_('__ /,
action on the Defendant, Miami-Dadc County, Florida, by serving the Mayor: 119 ">C

Carlos A. Gimenez

111 N.W. 1"‘ screen 21)"1 Flom-
Miami, norma 33128

])efendaot is hereby required to serve written defenses to the Cemplaint on Jason R.
Alderman, Plaintift"s attorney, whose address is: The Alderman Law Firm, Shoreview
Ccnter, 9999 NW 2nd Ave, Suite 211, Miami Shores, Florida 33138, within twenty (20) days
after service of this summons upon that Defendant, exclusive of the day of service, and to file the
Original of said written defenses with the Clerk of said Court either before service on Plaintill"s
attorney 01‘ immediately thereafter. lf a Defendant fails to do so, a default Will be entered against
the Det`endant for the relief demanded in the complaint or petition.

WITNESS my hand and the seal of said Court this ZLO day of December 2017.

HARVEY RUV]N
Clerk of the Courts

11111§` 11:1_ 111111 1111£1111111:1
By:

Deputy Clerk
]ason R. Alderman, FBN 172375
THE ALDERMAN LAW FIRM
9999 NE ?.nd Ave, Suite 211
Miami Shores, FL 33138
Ph. No.: (305) 200~5473
Fax. No.: (305) 200-5474
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Filing # 65697626 E-Filed 12/21/2017 12:31:47 Pl_\/I

IN THE CIRCUIT COURT OF THE ELEVENTH .1 UDIC]AL CIRCUIT 1N ANI)
FOR MIAMI~DADE C(}UNTY., FLORIDA

AHE R_EALTY ASSOC, LLC, a Fiorida limited Case No.:
liability coinpany,

Piainlifl`,
vs.

MIAMi-DADE COUNTY, FLORIDA, THE
VILLAGE OF i\/IlAi\/Il SHORES, and ISl\/[AEL
NARAN]O, individually, and in his capacity as
Building Ol`licial for 'l`he Vil|age of Miarni
Shcres,

Det`endants.

 

 

COMPLA§NT AN`§) DEMAND FOR JURY TRIAL

Plaintiff, A.HE Realty Assoc, LLC (“Alil§”), a Florida limited liability coinpany, sues
Dct`cndants, Miami-Dade County (_`“;M_MI_)_Q”), the `Viliage of Miaini Shorcs (“M§_Y_”), and ismael
Naranjo (“ul;laign_jg”), both in his individual capacity and in his capacity as “Building Ofiicial” l`or
MSV, and states as follows:

PART-IES, JURISDICTION & VENUE

1. Plaintit`t`, Al--IE, is a duly organized and existing limited liability company
organized under the laws of the State of Florida.

2. Defendant, MDC, is a chartered political subdivision of the State of Florida Within

the meaning of Article 8, Section 1 ot` the Florida Constitution.

3. Defendant, MSV, is a government municipality charter under the laws of the State
of Florida.
4. Defendant, Naranjo, is .s'ui_jaris and a resident of Miaini-Dade County, Florida.

Naranjo occupies the position 01`“Building U_fiicial” With MSV.

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5. This is an action within the jurisdiction of this Co'urt, exclusive of interest._ costs,
and attorneys’ iees.

6. Vcnue is proper in Miami-Dade County pursuant to Fla. Stat. § 47.011 in that i) the
Defendants reside within said county; and, ii) all of AHE’s causes of action aileged herein accrued
exclusively within said countyl

GENERAL ALLECATIONS

A. The Building, the Ncrth Egress Door, and Int`ormai Governrnental Action by MSV.

71 Plaintiff, AHE, is the owner ot` certain commercial property located within the
boundaries of Det`endant l\/iSV. The property has a street address of 9999 NE 2“‘l Ave, Miami
Shores, Florida 33138 and is improved with a three (3) story, mix-usc office rental building (the

1!

‘°Building"), commonly referred to as the “Shoreview Center. The tenant mix ot` the Building
includes professional ottices, medical ot`t`ices, and restaurants

8. The designated front entrance of the Building t`aces west1 curbside to Northeast
Sccond Avenne. Thc back or rear of the building faces cast, and has a designated entrance as well.
The designated “side doorways” are situated on the north and south sides ot` the Build.ing.

9. The side doorways arc at the bottom of stairwells. Thc doors for these doorways
are “egress” only doors, that is, the doors only open for persons exiting the building This is
because the door systcm/ locking mechanism only permits the doors to open for egress and not
ingress, whereas the doors t`or the front and rear entrances allow both ingress and egress. Al all
times material hercto, the door systems, as described herein, complied with all applicable building
and tire ecdes, and were permitted and approved by all applicable governing authorities Relevant

bere, under the applicable Florida building and tire codcs, thc doors on the side entrances are

required to be limited to egress only because they are located at the bottom ot` stairways.

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lO. Upon information and belief, on or about October 12, 2017', the Building’s first
floor, northside egress only door system (the “.North Egress Door”) was vandalized and/or
damaged by an ambulatory patient deiivery driver while transporting a patient to Fresenius
Dialysis, a tenant on the first floor ofthe Building. A true and accurate picture of the North Egress
Door is attached hereto as Exhibit A. lt is believed that the driver kicked the door, attempting to
gain ingress access through the North Egress _l)oor. The resulting kick caused the doorfraine for
the North Egress Door to bend thereby impacting the door’s locking mechanism The aforesaid
resulting damage shall hereinafter be referred to as the “Vandaiized Loc|<_”

ll. As a result of the Vandalized Locl<, the North Egrcss Door became susceptible to
occasional minor _iainming.

(MSV’§ inspection and informal Notice of `Vio¥ation to A_HE)

12. At a time unknown to Plaintiff AHE, Defendant l\/ESV, through Defendant Naranjo,
in Naranjo’s capacity as Building Official, and acting under the “color of law”, inspected the North
Egress Door. Upon information and belief, the inspection took place on or about October t3, 201"/'
(thc “_ 0/13 Inspection”). As a result of the i{}/ 13 Inspcction, Defcndant l\/ISV, through Naranjo,
adjudicated the fact that the North Egress Door had been intentionally locked by Plaintiff AHE.

l3. At or around 4;30 p.ln. on October 13, 2017_, Defendant Naranjo, in his capacity as
Building ()flicial, and acting under the “color of law”, conducted a meeting (the “l()fl3 Onsite
l\/leeting”) with Plaintiff AHE’s property manager Julio Martinez (“Martinez”) at the Building to
discuss his adjudication of the “locked” North Hgi‘css Door. At this Meeting, MSV, through its
Building Ofticial Naranjo, communicated his adjudication to AHE of the “locked” door and found

AHE in violation of certain unidentified coch and ordinances Further, at this time, MSV, through

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its Building Official Naranjo, rendered a verbal violation on AHE and rendered the following
verbal cure instructions to AHE:
a. “uniock" the North Egress Door; and,

b. Replace the entire door system so that the North Egress Door (and south
door for that inattcr) operated as both egress and ingress doors

(Defendant Na'ranjo’s violation and instructions connnunicated at the 10/ l3 Onsite Meeting shall
hereinafter be referred to as the “tnformal Notice of Violation.”).

14. Plaintiff, AHE, through its property manager Ju}_io l\/lartinez, vehemently denied
that the North Egress Door was locked. in response to the lnt`ormal Notiee of Violation, AHE,
through Ma.rtinez objected to the informal Notice of Viola.tion and, in doing so, indicated the
foilowing:

a. AHE disputed i\/ISV/ Naranjo’s adjudication of the l\torth Egress Door as
having been “locked” and notified same that the door may appear locked
due to the oceasional, partiat jatnrning caused by the Vandaiized Locl<;

b. AHE had already taken affirmative steps necessary to repair the Noith
Egress Door from jainming/ and Vandaiiaed Locl<, including ordering
appropriate, custom replacement door framing and hardware; and,

e. AHE objected to the MSV/ Naranjo verbai instructions to change the North
F.gress Door system into both an ingress and egress system from its current
Status as an egress only door system

15. In response to Plaintiff AHE’s objections to the Inl`onnal Notice of lnformal
Violation referenced in the immediately preceding paragraph, MSV, through Naranjo, rescinded
its verbal Notice of Informal Violation, and informed AHE that “Once you put the property system
in like you arc thinking of you will be o.l<,” and “go unlock the door and tile a police rcport_” The
“property system“’ referred to by `Naranjo is “replacement steps” identitied in the immediately

preceding paragraph, that is, repairing and replacing the i\lorth ligress Door/ Vandalized Loclt to

render it fully functional as an egress only door.

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16. Thc 10/ l 3 ()nsite l\/Ieeting concluded with l\/lartinez unjamrning thc door, rendering
it fully functional as an egress only door.

`17. Subsequent to the lO/13 Onsite Mectirig, Defendaut l\/lSV neither prepared nor
served PlaintiffAHE with a formal and proper Notice of Violation. Nor did MSV notify or attempt
to convene any quasi-judicial panel or hcaririg, e.g., l\/lSV Code Enforcernent Board Hcaring,
permitting AHE an opportunity to challenge or contest the informal Not.iee of Violation and/or
verbal violations and/or verbal instructions and/or adjudication of the North Egress Door having
been “|ocl<ed." Further, at no time has Defendant Naranjo prepared any affidavit or given any
sworn testimony supporting, attesting to, or providing any evidentiary basis for the informal Notice
of Violation and/or verbal violations and/or verbal instructions and/or adjudication of the North
Egress Door having been “loclted.”

(li)/Zd lnformai Erriail `Violation)

lS. On October 24, 201’7 at 81le a.m., Dcfcndant l\/lS\/, through its Building Official
Defendant Naranjo, entailed l\/lartincz stating the following:

'l` he condition of the egress door at 999‘9 NE 2“‘1 Avenue creates hazards
with respect to means of egress and fire protection as provided under the
Florida Building Code and l\/liarni Dade County Code for the particular
Occupancy. You are hereby order [.s'ic] to maintain the egress door open at
all time [si`cj. The door should be operable from both sides without the usc
of a kev, tool and or special knowledge Failure to eomply with this order
immediately will result in an unsafe structure and the building will be order
[si'c] to be vacated immediately
(the “10/24 informal Email Violation”). (Ernphasis supplied).
19. According to the ]_0/24 lnformation Email Violation, and notwithstanding the fact

that l\/lSV previously consented to repair of the North Egress Door as an “egress” only door,

Defendant l\/ISV, through Naranjo, ordered that the `North Egress Door be replaced with a door

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system that is both egress and ingress (i.c., ‘°[t]he door should be operable from both sides without
the use of a key, tool and or [si'c] special knowledge." .

2(). Subsequent to receipt of the 10/24 informal Emaii Violation, Defendant MS\/
neither prepared nor served Plaintil`f with any l\totice of Violation concerning the North Egress
Door and/or `Vandalized Locl<. At no time has Defendant MSV ever provided AHE with any
citation or identified any of the applicable codes and ordinances that Naranjo contends AHE has
violated or is violating Nor did MSV notify or attempt to convene any quasi-judicial panel or
hearing, e.g., MSV Code Enforcernent Board Hearing, permitting AHE with notice and an
opportunity to challenge or contest the informal Noticc of Violation, the lil/24 informal Email
Violation_, or any violation for that matter

2`1. Thc l0/24 `lnformal E`,mail Violation is contrary to l\/lSV’s rescission of the lnformal
l\lotice of `Violation, that is, MSV’s approval of the replacement of the door system as an egress
only door system.

(10/27 Naranjo Rmail)

22. On or about October 27, 2017, Defendant MSV, through its Building Ofticial
Naranjo, sent AHE’s counsel the email attached hereto as Exhibit B (the “_10/27 Naranjo Einail”).

23. in the ]0/27 l\laranjo Email, Defendant MSV instructs AHE that “[c]gress doors,
should be complied with the requirements of Section 108 of the 2014 Florida Building Code."’

24. Section 108 ofthe Florida Building Codc (titled, “Teinporary Structures and Uscs")
applies to “temporary structures.” At all times material hereto, the Buiiding is not a “‘tcmporary
stracture” within the meaning of Seetion 108 of the 2014 Building Codc.

25. After receipt of the 10/27 Naranjo Hmail, Defcndant MSV neither prepared nor

served Plaintiff with any Notice cf Violation concerning the North Egress Door and/or Vandalizcd

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Locl<. At no time has Defcndant MSV ever provided AHE with any citation or identification of
the applicable codes and ordinances that Naranjo contends AHE has violated or is violating Nor
did MSV notify or attempt to convene any quasi-judicial panel or hearing, e,g., MSV Code
Enl`orcement Board Hearing, permitting AHE with notice and an opportunity to challenge or
contest the Infonnal Notice of Violation, the 101/24 informal Email Violation, or any violation for
that matter.

(10/30/17 `Deelaration of Unsafe Strneture by `MSV)

26. On or about ()etober 30, 2017, MSV through its Building Ot`iieial l\iaranjoq acting
under the “color of law”, posted an “Unsafe Building" orange notice declaring the Bnilding as
“unsafe” within the meaning of Section 8-5 of the Miami-Dade County Code (“M)QQ”). A title
and correct copy of the notice is attached hereto as Exhihit C and shall hereinafter be referred to
as the “Unsafe `Building Notiee.” MSV’s action of declaring the Building as an “unsa.fe structure”
(within the meaning of§ 8“5 ofl\/IDCC Code_) shall hereinafter be referred to as “Unsafe Stnicturc
Deelaration.”

27. On the Unsafc Building Noticc, Defendant Naranjo illegally and falsely claimed
that he and Defendant MSV rendered the declaration on ‘°October 13, 20_17’_.” when in fact the
notice and declaration was made on Oetr)her 30, 2017.

28. On or about Oetober 30, 2017, AHE, through its property manager Iulio Martinez,
met in the afternoon with '_i_`om Benton, City Managcr for Defendant MSV to discuss MSV’s
Unsafc Dcelarati_on and the impact and ramifications of the Unsafe Building Notice. D'uring this
meeting, Mr. Benton informed AHE that MSV has “rescindcd” its demand that the side entrance
door systems for the Building be replaced with ingress and egress door systems, as opposed to

egress only doors, and that Ali`E could temporarily cure the Unsafe Strueture Declaration by

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placing a wood door stopper to keep the door open and from jamming until its replacement, egress
only door system was installed

29. immediately after the meeting with Tom Benton, but no later than close ofbusiness
on October 30, 2017, the aforesaid meeting, AHE, through its property manager Julio l\/iartinez,
immediately complied with the aforesaid request by inserting a “dal)” of carboard less than half
the size of a quarter into the Vandaliaed Lock system thereby temporarily converting the door from
egress only door to an ingress and egress door. AHE notified MSV that it had complied with l\/Ir.
Bent.on’s cure instructions

30. On the morning of Cctoher 31, 2017, the Unsafc Notice remained posted to the
Bnilding and in full force and effect The Unsafe Building Notiee requires the evacuation of the
Building. 1-1aving complied with Mr. Benton’s cure instructions, Ail£, through Maitinez
attempted to contact l\/Ir. Benton and Defendant Naranjo_ neither of whom were available Given

that Defendant l‘\/FSV failed at this time to remove the U`nsat`e `Building l\loticc or Unsafe Structure

 

Dec|aration, AHE commenced preparing for an evacuation ot`thc Building.

31. On the morning of October 31, 2017, AHE, through lulio i\/iartinez, in connection
with evacuating the Building, notified Defendant Na.ranjo that the dialysis patients and office staff
would be cvaeuated pursuant to his standing orders of evacuation set forth in the standing Unsafe
Structure Declaration and Unsafe Building Notice` Only then, when faced with the prospects of
sick dialysis patients being denied lifcsaving treatment due to his erroneous orders, did Naranjo
remove the Unsafe Buiiding Dec|aration and Unsafe Building Notice.

32. On October 31, 2017, Defendant Naranjo, on behalf of MSV, notified AHE that it

was “rescinding"" the Unsafe Building Declaration and 11 nsafe B'uiiding i\lotice through email. A

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true and correct copy of this cmail is attached hereto as Exhibit D and shall be hereinafter referred
to as the “Rescission Email.”
(Letter Violation)

33. On or about Uetober 30, 2017, and either simultaneous or shortly after posting the
Unsafe Building l\lotice and making the Unsafe Structure Declaration, Defendant MSV, through
Nar'anjoi its Building Oflicial, sent an “‘Unsafe Building Letter Violation” letter to Plaintiff AHE`s
bank as purported notice on AHE. A true and correct copy of the said letter is attached hereto as
Exhibit E and shall hereinafter be referred to as the “Letter `Violation.”

34. Thc Letter Violation identifies a purported case number “UB-10~17~2462” (“M
Case Number”). The Fal<e Case Number is a lie and falsehood in that no such case exists with
Defendant MDC or MSV at the time the Letter Violation was sent.

35. As ofthe time o,fthe filing ofthis Coinplaintq Defendant l\/lSV has failed and r'eliises
to rescind the Letter \/iolation or issue any official document deeming the Building no longer an
“unsafe structure” or declaring the building condition as cured or safc. As a result, there is no
record in the public records for MSV or MDC from Which any person can determine that the
Unsa'l`e Building Notice and/or Unsafe Structure Declaration is no longer in force or effect or
otherwise curcd_, rcscinded, etc. Further, because there is no such official reeord, and because an
“unsafe declaration” provides for monetary fine and liens against the Property, title to the Building/
property is clouded by fDefendant l'_\/ISV and Naranjo’s actions

36. The Unsafe Building Notice, Unsafe Structure Declaration, and the Letter Violation
required the immediate evacuation of the Building and its tenants

37. The Unsafe Building Notice, Unsafe Structure Declaration, and the Letter Violation

had the legal effect of adjudicating the Building an “unsafe structure” under §8-5 of the MDCC

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thereby subjecting the Building to the fine of demolition (§S-S(d)(?>) & (g)) or property forfeiture
and sale (§8-5(k)(4))_

38. The Unsafe Building l\lotice, Unsafe Structure Dcelaration, and the Letter
Violation, interfered with Building’s tenant.s’ right to possession of their demised premises
pursuant to their lease agreements with landlords and suspended their obligations to make rental
payments Conversely, the U'nsafe Building Notice, Unsafe Struct:ure Deelaration, and the Letter
Violatioii subjects Plaintiff AllE to significant lost rental income and damage claims by tenants in
excess of millions of dollars

39. Thc Unsafe Building Notice_, Unsafe Structure Declaration, and the Letter Violation
placed Plaintiff AHE in the position of default under its mortgage with its mortgagee thereby
subjecting AHE to the possibility of foreclosure, and default interest

40. The Unsa["e Building Notice1 having been published on tire Building for all of its
tenants’ to view, has diminished the value of the Bui]ding and corresponding rental income
Plaintiff AHE can receive under future leases and lease renewals

(AHE’s Demand for Due Proecss)

41. On November 3, 2017, PlaintiffAl-I`E, through counsel, demanded of l\/ISV, through
the City Clerk, and Naranjo, as Buildirig Offieial, that MSV conduct a due process hearing so that
AHE could challenge the Unsafe Structure Declaration. A true and correct copy of AH_E’s
Counsel’s demand letter dated November 3, 2017’¢1 is attached hereto as Exhibit F and shall

hereinafter be referred to as “11/3/ 17 _Reoucst for Due Process Hearing" or “l 1/3/17 Hearing

Reguest.”

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42. On or about November 9, 2017, Defcndant, MSV, through its City Attorney
Richard Sai'a't`an_q sent Plainti{f AH.E the letter attached hereto as Exhibit G (the “Saratan Letter”).
in relevant part, MSV, through its City Attorney, s'tates:

As l ain sure you understand, the Village disputes much of what is contained
in your eniail. Your emaif itself, and the attachments thereto, seem to
confirm that the Building ()fficial had been in communication with your
ciient’s representative for weeks trying to get your client to comply with the
clear provisions oi_` law being violated by the locked tire exit door, without
appropriate action under the Unsat`e Structui'es provisions available to him.
Alinost immediately thereafter, your client corrected the violation, and,
upon that t`act being confirmed by Mr. Naranjo, he in turn confirmed that
the violation had been cured. Under all the eircuinstances, we are a bit
confused about exactly what it is you now are seeking in your cmail.

 

Aecordingly the Viliage has notified the Board Adrninistration Section of
the County’s Dcpartinent that deals with the County’s Unsat`e Structui‘cs
Board and is forwarding then a copy oi" your Notice of Appeal. Upori the
County’s receipt and review thei'eof, we understand they will be contacting
both the Viliage and you directly to provide infoiination as to how the
matter will be addressed Tliank you.

(Eiripliasis supplicd).

43. At no time whatsoever has AHE been provided with a Notice of Violation or a
notice from l\/iS\/_, let alone one that identifies “ciear provisions of law” (as suggested in the

Sarai`an Letter) that AHE is alleged to have violated

B. The Requirements of MDC § 8-5, Its Appf§cation to Plaintii'i' by MSV, and iVlDC and
MSV’s J`oint Enfercemeat of § 8-5.

44. The authority relied upon by MSV and Naranjo in deeming the Building an “Unsat`e
Sti'uctui‘e” and the posting oi` the Unsat`e Building Notice is Section 8~5 ofthe MDCC. tn ordering
the evacuation of the Building in the Unsafe Building Notice, MSV and Naranjo relied upon the
“einergency aetion” provisions ol`§ 8~5.

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Admi`iii'.s'trarive Due Pr'oee.s‘s Reqiiiremeni

45. Section 8-5(a) provides that:

. . . Notwithstanding the provisions ot` this Scction, a municipality
may establish by ordinance its own administrative process to
address unsafe structures within municipal boundaries including a
process of appeal of decisions of the Building Ot`tieial that structures
are unsafe Following adoption of such ordinanee, the municipality
shall be solely responsible for the conduct of its own process and
appeals, and for the enforcement of the laws governing unsafe
structures within the municipal boundaries, including a process of
appeal ol` decisions of the Building Ol`ticia.l that structures are
unsafe A municipality adopting such ordinance shall also be
authorized to establish its own standards for declaring a structure to
be unsat`e, and t`or the repair or demolition ot` an unsat`e structure, all
consistent with the provisions ol`the `Florida Bui]ding Code . . .
("`Adniinistrative and Appeals Process Reeuirenient”).

46. As of the date of this lawsuit, `Dei`cndant l\/lSV has failed to adopt its ‘“own
administrative process" to address unsafe structures1 including providing for an appellate processn
Consequently, Defeiidant l\/ISV relies entirely on the Defendant l\/lDC to administer the
Adrninistrative and Appeals Proccss Requirernent under § 8-5. Furthcr, because l\/_[SV has not
adopted its own administrative process, it is not authorized under §8-5 to establish its own criteria
for declaring a structure to be “unsa[e.”

47. As of the date of this lawsuit, Dei`endants MDC and MSV have failed to
appropriately train MSV inspectors/ Building OF["icial, including Del"endant Naranjo to avoid due

process violations or compliance with the due process provisions ol" § 8-5 ot`the MDCC, including

those applicable to “einergeney action_”

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P!ii)sical Cri'leria for Uiisafe Deciaration

48. The physical criteria for determining whether a structure or building is “unsafe”
within the meaning of § ill-5 is set forth in § R-S(b)(l) through (3). Said criteria shall hereinafter
be referred to the “Plivsical Criteria Requirement.”

49. At all times material hereto, the Building does not and has never satisfied any of
the aforesaid enumerated physical criteria or fell within the code definition of Physical Criteria
Requirement of § S~S(b).

Einergencv Aeti`on Procednre.r

50. Section 8-5(5) of the MDCC permits a Building Ot`ticiai to take certain
"emergency actions” if the Building Of.iicial believed there is an “actual or immediate danger"` to
the building or persons

Emcrgency action When in the opinion of the Bu.ilding OfficiaL there is
actual or immediate danger of the failure or collapse of a building or
structure, or there is a healtl'i, windstorm or fire hazard, he may order the
occupants to vacate, temporarily close for use or occupancy the rights-motl-
way thereto, sidewalks, streets or adjacent buildings or nearby area and
institute such other temporary sat`eguards, including securing the building
or strucnire_, as he may deem necessary under the circumstances and may
employ the necessary labor and materials to perform the required work as
expeditiously as possible ln such event. the operation of the notice and
hearing requirements of this Section shall be suspended as reasonably
necessary in the opinion of the Buildini;r Official to redress the emergency
situation Costs incurred in the performance of such emergency work shall
be paid by the appropriate governmental authority and upon the recording
in the public records ot`this county ofa certificate executed by the Bui|ding
Ofiicial certifying the amount so cxpended, thc same shall become a lien
against the property involved

(“Ernergency Procedures Rec|uircmcnts”).
51 . As set forth in the Emergency Procedures Requirements, the Building Ol`licial may
ppg eliminate due process requirements that is, the “notice and hearing” requirements but instead

can only temporarily suspend them as “reasonably” necessary

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Due Pr'ocess Rcaui'remenls of`Noti'ce and Heari'ng Unn'er §§ 86 ofr}ie MDCC.
52. Section S-S(h) of the l\/I.DCC sets for the “notice” due process requirements for

15

when a Bnilding Offieial deems a structure or building "unsafe. This scction, in relevant part,
requires the Building ()fticial to;

a. Preparatinn cfa Formal Notice oi' Violation. Specifically, § S-S(h)( l}
provides that “[tlhe Building Offrcial Shall prepare a notice of violation”;

b. ldentification of Violation and Sunlrnary of Actions to Cnre,
Speciticaily, § S-S(h)(Z) provides that the Building Official shall identify in
the written notice of violation “in summary form the nature of defects which
constitute a violation and shall prescribe the action to be taken to comply
and the time within which compliance must be accomplished, such time not
to exceed tent ( l) days”; and,
c. ldcntit`y grid Explain Right to Appeal. Specitically, § S~S(h)(Z) provides
that the Notice of `\/iolation provide the owner of the structure/ bonding with
an explanation concerning the rights to air appeal of the Building ()fticial ‘s
declaration of unsafe structure, etc.
(thc above-referenced due process requirements, in addition those set forth in § 3“5(11)(2) not
referenced above, shall be referred to as the “§` S-S(h)(Z} Notice Retiuirements.”).

53. Section S-S(i) of the MDCC sets forth the “opportunity to defend" requirement of
due process, that is, the requirements of a “Public Hearing” i_`or an owner of property which is
declared “unsafe’1 thereunder.

54. Spec_ifrcally, and in relevant part, § S-S(i) requires the Unsal`e Structures Board or
Unsafc Structures Appeal Panel to conduct a hearing and “. . . shall review all pertinent evidence
and hear all testimony from the Building Ofticial, the owner and other parties interest and their

respective witnesses.” The hearing required under this sub-section shall hereinafter be referred to

as the “S 8-5('1) Public Hearing Rec|uirernents.”

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55. On Novem`her 6, 2017, Sarafan confirmed and notified informally of the `MSV’s
finding to Julio l\/lartinez by stating orally that MSV determined l\/[SV had “every right to do what
it did.”

C. Defendants’ Violations of Plaintiff AHE’S Constitutional Rights, immunities and
Privileges.

(AH E’s Constitutional Riglits, l’rntections and Guaranties)

56. At all times material h_ereto, AHE possesses the constitutionally protected right and
liberty to own and possess its property free from unconstitutional state action and constitutionally
inadequate process “Due Process” under constitutional jurisprudence includes “procedural due
process" and “substantive due process."’ Under the Fourteentli Amendment to the United States
Constitution, AHE, as a landowner, is entitled to c“due process“ protections from the arbitrary
exercise of governmental power in contradiction and prejudice to constitutionally guaranteed
rights and liberties

5'?. Under the tliglith Amendmcnt to the United States Constitution, AHP as a
landowner, possess the constitutionally guaranteed right to protection from the imposition of
“excessive fines.”

58. Under § 8-5 ofthe l\/iDCC, imposes on Defend.ants MDC and MSV the obligation
of fulfilling the Adrninistrative and Appcals Process chuirernent, including, but not limited to
following, issuing, and/or implementing the Ernergency Procedurcs Requirements, the § 8-5(h)(2)
Notice Requirements, and the § 8-5([) Public Hearing Requirements.

(MSV and NARANJO’S Unconstitutional Actions and Deprivations as to AI-IE)
Failui"e to Provi`de Pi'ocedurnl Due Proces.s'
59. Det`endant MSV independently, and through its Building Offrcial Defendant

Naranjo, deprived AHE of procedural due process intentionally and/or while acting in a grossly

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indifferent manner, by failing to provide AHE with a proper notice under the § 8-5(h)(2) Notice
Requirelnents. The Unsalj`e Buiiding Notice is insufficient in that:

a. lt does not constitute the “Notice of \/'iolation’1 required under the § 8-
5(h)(2) Notice Requirenients;

b. Fails to set forth in summary form the nature of`dcfects which constitute a
violation;
c. issued without Defendan_t l\taranjo providing an evidentiary basis by

Affidavit or otherwise;

d. Fails to explain the right ol` an appeal of the decision otthe B'uilding ()l"ficial
to the Unsat`e Structures Board or an Unsat`e Structures Appeal Panel; and,

e. Fails to advise that unless compliance with the directions ot` the Building
(}flicial, a case will be commenced before the Unsai`e Struetures Board or
an Unsafc Structures Appca.l Panel after time for compliance has expired or
that the Building thcial’s order will be enforced

60. in addition to the reasons stated in the immediately preceding paragrapli, Dei`endant
`i\/ISV, through its Building Ot`_tieial Defendant Naranjo, deprived AHE et procedural due process
by the following:
a. lntentionally and Willfully falsifying on the Unsafe Building Notice a date
of “10-13-201 7” when in fact the Unsafe Building Notice was affixed to the
Building on Oetober 30, 20i7`;
b. lnten_tionally and willfully falsifying on the Letter Vioiation false MSV
Code Enforcement Case Number of “l 0-1?~2462” when no such ease
exists;

c. lssuance of the Unsai`e Declaration without any evidentiary support,
including but not limited to, an affidavit ot`the Det`endant Naranjo;

d. Resorting to the Hmergency Action provisions ot`§ 8-5(f) when there was
no actual or immediate dan ger;

e. Failing to comply with the § 8-5 Emergency Proeedures Requirenients; and,
t`_ Failing to comply with the §8-5 Administrativc and Appeals Process
Requirements.

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Art)i'trarv and Caprr`cr'ous A;)piicn!ion oft»` 8-5

61. in making the Unsafe Structure Declaration, Dei`endant MSV, through its Building
Ofticial i\laranjo, construed, interpreted and applied the Emergency Action and Physieal Criteria
provisions § 8-5 of the l\/iDCC in an arbitrary_., capricious and unconstitutional manner for the

following reasons:

a. Construing the Physical Critcria Requirements for an “unsafe st.ructure” as
to jurisdictionally include a vandalized lock and minor, occasional
janirning;

b. The utilization of Section 107 of the Building Code as a “Requirement for

Correction" in order to purge the Unsafc Structure i)eclaration;

e. The utilization of Chapter 8-10 of the l\/iiami-Dade County Cod.e as a
c‘l"\ccpiircrnent for Correction" in order to purge the Unsafe Structure
Declaration;

d. The utilization of “Mianii Shores Villagc Code Ordinances” without

identifying such ordinances in order to purge the Unsafe Structurc
Dcclaration, as same is unconstitutionally vague and exceeds the permitted
scope of § 3-5;

e. invoking the Emergency Action Procedures of §8~5(5) of MDCC in the
absences of a ‘”reasonabl.e” opinion that there is actual or immediate danger;

f, Eliminating the Emergency Procedures Requirements of § 8-5(5) in posting
the Unsafe Building Notice and making the Unsafc Structure I)eclaration;

g. issuing the informal Notice oi`Violation, without providing Pla.intiff AHE
with notice and opportunity to challenge and in doing so without any
evidentiary basis;

h. issuing the information Emaii Violation, without providing Plaintiff AHE
with notice and opportunity to challenge and in doing so without any
evidentiary basis;

it issuing the Reseission F.mail in attempt to deprive Plaintiff AHE of due
process;

_i. Construing the fire and building codes as to require the Building’s side
entrance doors to permit egress and ingress door systems; and,

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k. Failing to tal<.e appropriate and timely actions and precautions so as to
preserve and permit PlaintiffAliE with the a public hearing, as set forth in
the Public _licaring Req_uiremcnts.

(The actions, inactions, and deprivations identified in the paragraphs supra shall hereinafter
be collectively referred to as ‘°Unconstitutional Actions.”).
Punilive and Unrerrsondbt'e duplication of e` 8”5 of`MDCC

62. MSV’s issuance, through Defendant Naranjo., of the Unsal`e Building l\`lotiee,
Unsafc Structure Declaration, and Letter Vioiation in the manner alleged above was objectively
unreasonable because it violates clearly established rights of the Plaintiff AHE to due process_., as

alleged abovc, and to be free from excessive fines, as alleged above, because any reasonable person

would have known that:

a. Thc circumstances created by the Vandalized irocl<, i.e., the minor jarnrning, did
not satisfy the Physical Criteria for an unsafe structure Within the meaning of§ ilo
5;

b. The circumstances created by the Vandalized Lock, i.e., the minor jamming, did

not satisfy and/or warrant “Ern.ergency Action” resulting in the “suspension” of
due process under §8-5 of the l\/iDCC, particularly given the condition had existed
for 17 prior days before the issuance of the Unsafe Building Notice, Unsafe
Structurc Declaration, and Letter Violation;

c. Due process under §8-5 requires notification cfa right to appeal and public hearing;

d Plaintiff Ai~lE was entitled to due process for any and all of the informal violations
and adjudications alleged above; and_,

e. ln order to satisfy due process, i\/iSV and Naranjo Were required to provide some
evidentiary basis to support or sustain the Unsafe Bui|din g Notice, Unsafc Structure
Declaration, and Letter Violation.

63. MSV’s issuance, through Dei`endant Naranjo, of the Unsai"e Building Notice_,
Unsafe Structure Dcclaration, and Letter Violation in the manner alleged above was objectively

unreasonable, arbitrary, capricious inanner, and in a manner that shocks the conscious ofa good

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faith and reasonable Building Official acting in the same or similar situation The subjection of
the Buiiding to demolition and/or forced sale is totally out of proportion to the gravity of the evil
MSV supposedly intended to remedy Accord_ingly.J Dcfcndant l\laranjo’s issuance of` the Unsafe
Building l\lotiee, Unsafe Structure and Letter Vioiation imposed the line of demolition and asset
forfeiture/ forced sale which is excessive under the circumstances identified above and in violation
of the Plaintiff AHE’s Eighth Amendrnent Constitutional right to be free from excessive iines.

64. All conditions precedent to tire bringing and maintenance of this action have either
occurred, been excused1 or otherwise waived

~»COUNT I-»~
DECLARATURY .FUDGMENT

Plaintiff, AHH, sues `Defendants MDC, l\/l`SV, and l\laranjo as the Building Official for
i\/liaini-Shores, and states as follows:
65. Plaintiff AH lt rc~ai|ege and incorporates paragraphs l through 64 as though fully
set forth thereinl
66. This is an action for a declaratory judgment brought pursuant to Chapter 86, Florida
Statutes. Piaintiff AHE seeks a declaration ol'the constitutionality of Defendants MSV, MDC,
and Naranjo’s actions and inactions alleged above. The declaration sought includes, but is not
limited to, the following:
a. whether l)efendants t\/ISV and Naranjo’s interpretation9 administration, and
application of the Physica_l Criteria under §8-5 MDCC to the Vandalized Loel<
and/or instant controversy is constitutional or unconstitutional;

b. whether Defendants i\/lSV and Naranjo’s ljnsat`e Bui|ding Notiee complied with or
violated § 8~5’s due process requirements and/or is otherwise unconstitutional;

e. whether Defendants l\/lSV and Naranjo’s reliance on the “emergency action”
provisions of §8-5 is or was proper and eonstitutional, especially given that both
relied upon the informal Notice of Violation, 10/24 lnformal Ema.il Violation,
10/27 Naranjo Email;

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d. whether Defendants l\/lSV and Naranjo’s practiee, policy and procedure to issue
enforcement violations and/or curative instructions verbally and/or non»verbally
and without supporting evidence, e.g., and affidavit complies with due process;

e. whether Defendants l\/lSV and Naranjo’s failure to provide any formal or written
withdrawal of the Letter Violation or document in the public records indicating that
compliance and/or curative actions have been successfully obtained/ occurred;

f. whether Defendants l\/lSV and l\laranjo"`s administration of the “emergency aetion”
provisions of §8-5 with the Defendant l\/[S`V is unconstitutional on the grounds that
it fails to provide due process; and,

g. whether or not AHE is or was provided sufficient due process and/or its
constitutional rights violated by any and/or all the Uneonstitutional Actions cited
above.

67. rl`here exists on the part of AHE a bona fide, actual_, present practical need for the

declaration sought

63. The declaration sought deals with a present, ascertained or ascertainable state of
facts or present controversy as to a state of facts

69. AHE’s constitutional rights, powers, privilegesj and immunities arc dependent
upon the aforesaid facts and/or applicable law to same.

’l(). Defendants M.DC, MSV, and T\laranjo possess, or reasonably may possess, an
actual, present, adverse and antagonistic interest in the subject matter at issue in this litigation and
the declaration sought, either in fact or laW.

7`l. All antagonistic and adverse interests are all before the court by proper process or
class representation and thatL the relief sought is not merely the giving of legal advice by the courts
or questions propounded form curiosity.

WHEREFORE, Plaintif`f` AHE demands a declaratory judgment declaring the above
together with any supplemental relief pursuant to Fla. Stat. § 86.061 and any other relief this Court
deems just and proper.

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-COUNT II-
PETITION FOR WRIT OF MANDAMUS

Plaintift`, AHE, sues Defendants l\/ISV, l\/lDC, and Naranjo, and states as foiiows:

72. Plaintift`AHE re-allege and incorporates paragraphs 1 through 64 as though fully
set forth therein.

73. This is a petition for the issuance of a Writ ofMandamus directing the l\/IDC, MSV,
and Naranjo to immediately and forthwith comply with due process and hearing requirements of
§8-5 MDCC by scheduling a public hearing with the appropriate MDC board to hear the legal
merits underlying the Unsafe Structure l)ec|aration and P|aintift”s AHE’s defenses thereto.

74. Plaintiff AHE possess a clear legal right to have a hearing on its appeal of the
Unsafe Building Notiec, Unsafe Strncture Dcclaration, and Letter Violation_1 pursuant to Section
S-S(a)(i_) ot`the Florida Building Code.

75. Under the Eincrgency Proccdurc Requirernents of § 8~5(5) of l\/ii)CC, “noticc and
hearing" requirements may only be suspended as “reasonably necessary” in the opinion of the
Building Ot`flcial.

76. As of the date of the filing ot` this Cornplaint, neither MSV nor MDC have
commenced or convened a public hearing or § 8-5(1) Public Hearing Requirements.

77. Plaintiff, AHE, lacks an adequate remedy at law.

`W H`HREFOR`E, Plaintiff AH E requests this Court to issue a Writ of Mandamus directed to
MDC, MSV, and Naranjo, as stated above and together with any further relief this Court deems

just and properi

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-COUNT lil-
VIOLATEON O`F 42 U.S.C. § 1983 AS T() NARANJ'O

P|aintiff, AHE, sues Det`endant, Naranj`o, and states as follows:

78. Plaintit`t`, AHE, realleges and reincorporates paragraphs 1 through 64 as though
fully set forth tlierein.

79. This is an action for damages and injunctive relief brought under 42 UiS.C. § 1983
to redress the willful, malicious and grossly indifferent actions and inactions of I)efendant Naranjo,
while acting under the “color of law” as the “Building ()f[icial” for Det`endant i\/lSV.

80. As alleged above, Defendant Naranjo’s actions and inactions, including the
Unconstitutional Actions, deprived Plaintiff AHE of its riglits, privileges, and immunities
protected under the Fifth, Eight, and Fourteenth Amendmcnts to the Unitcd States Constitution.
By his actions and inactions_, Naranjo deprived Plaintiff AHE of due process in connection with
the constitutional liberty1 right1 and privilege ot` owning and possessing property free lfrom
goverrn_nental takings and interference

Sl. Speciiically, Det`endant l\iaranjo’s issuance of the Unsafe Building l\lotice, Unsat`e
Structure, and Letter Violation willfully, maliciously and/or with gross indifference deprived
`Plaintiff AHE of the constitutionally protected liberty of ownership and possession of its property
by seizing and excessively fining it without due process of the law_, as stated above, including
subjecting it to immediate forfeiture, sake and/or demolition `Naranjo actions and inactions
towards Plaintiff were conducted in an arbitrary and capricious manner, a manner that shocks the
conscious of good faith and reasonable persons, including a “’Building Official” acting in the same

or Similar situation

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824 As a direct and proximate result of Defendant Naranjo’s Unconstitutional Actions,
as described above, Plaintiff AHE has been damaged and injured5 as described above. Plaintiff

AHE’s damages incl_ude, but not iirnited to, the following:

a. Attorneys’ Fees;
b. Di_minution in value of its property
83. Due to Defendant Naranjo’S Unconstitutional Actions, coupled with MSV’s

position affirming the propriety of those actions/ inactions, and failure of Defendants MDC to
provide the required oversight1 training and due process guarantees under § 8-5 of the l\/_IDCC,
Plaint.iffAHE is, thus, likely to suffer irreparable injury in the future Accordingly, in addition to
damages, Piaintiff AHE seeks equitable relief, inciuding, but not limited tot injunctive relief
enjoying further deprivation efPlaintiff Al-lE’s rights, privileges, or immunities secured by United
States Constitution, as aiieged above.

WHEREFORE, Plaintift` AH`E demands judgment against Dcfendant l\laranjo, both in his

individual capacity and as his capacity as Building Oft`icial, for damages and further relief this

 

Court deems just and proper, including but not limited to injunctive relief, together With an award
of costs.

-COUNT IV-
VIOLATI()N OF 42 U.S.C. 3 1933 AS TO DEFENDANT MSV

Plaintiff, AHE, sues Defendant, l\/ISV, and statcs:

84. PlaintiffAHE re~al.leges and reincorporates paragraphs l through 64 and 80 through
83 as though fully set forth herein

35. This is an action for damages and injunctive relief brought under 42 U.S.C. § 1983

to redress the willful, malicious and grossly indifferent actions of l\/ISV.

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86. Defendant MSV, in issuing the Unsafe Building Notice, Unsat`e Structure
Declai'ation, and Letter Violation relied exclusively on § 8-5 of the l\leCC. As alleged above,
i\/lSV relies solely upon Defendant l\/IDC to administer the due process requirements under § §§-5.

87, Del`endant MSV has failed to provide requisite training and oversight of Defendant
Naranjo, acting in his capacity as Building Official for l\/[SV.

33. Defendant MSV has an informal policy of permitting Defendant Naranjo to make
any and all decisions without any oversight concerning the construction_, inter[.)retation, and
application of § 8-5 of the l\/IDCC, without consultation or training from either the MSV City
Attomey or MDC. Defcndant MSV further as an informal policy that permits Dcfendant Naranjo
to construe any applicable code, including §8-5 of the l\/IDCC, in a manner that allows him to
utilize his subjective opinion, as opposed to a reasonable, objective opinion, when the code
provides opinion or discretionary latitude

89. Defendant MSV has a formal and informal policy of permitting Defendant Naranjo

 

to issue verbal and non-verbal citations and violations without any evidentiary basi.s, e.g., affidavits
etc.

90. Defendant MSV has an informal policy of permitting Defenda.nt Naranjo to issue
verbal and non-verbal citations and violations without any opportunity by the property owner to
challenge the underlying verbal and non-verbal citation/ violation

WHEREFORE, Plaintiff AI-lE demands judgment against Defendant MSV for damages
and any further relief this Court deems just and proper, including but not limited to injunctive

relief, together with an award of costs

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-COUNT `EV-
VIOLATI()N ()F U.S.C. § 1983 AS TO MDC

Plaintift`, AHE, sues Defendants, MDC, and states as foliows:

91. Plaintift`reaileges and reincorporates paragraphs l through 64 and 80 through 83 as
though fully set forth therein

92. This is an action brought under 42 U.S.C. § 1983 for redress caused by Defendant
MDC’s deprivation of Plaintit`t`AHE rights, privileges, and immunities protected under the Fifth,
Eight, and Fourteenth Ainendrnents to the United States Constitution.

93. As alleged abovc, as cf the date ot`this lawsuit, l\/ISV has failed to adopt its “own
administrative process” to address unsafe structures, including providing an appellate process
Consequently, Defendant l\/lSV relies solely on MDC to administer the Administrative and
/\ppeals Process Reqaireinent under § 8-5. `Further, because MSV has not adopted its own
administrative process, it is not authorized under § 3-5 to establish its own criteria for deciaring a
structure to be “unsafe."

94. As alleged above, the failure of Defendant MDC to provide Plaintiff AHE with a
public hearing or, notice and an opportunity to be heard, so it may contest the Unsafe Building
Notiee, Unsafe Structure Declaration, and Letter Violation, deprives Plaintiff AHE of its
constitutional rights, privileges, and immunities of due process and freedom from excessive lines

95. I)efendant MDC has failed to provide requisite training to municipalities who
administer and enforce §8-5 of the MDCC.

WHEREFOR~E, Plaintiff AHE demands judgment against Defendant MDC for damages
and any further relief this Court deems just and proper. including but not limited to injunctive

relief, together with an award of costs.

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DEi\/IAND FOR JURY TRIAL
Plaintiff AHE hereby demands a trial by jury on all issues so triable as a matter of right
Respectfully submitted,

THE A`LDERMAN LAW FlRi\/l
Ati.'ornr’ysfi)r the Plaintr`[j"

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'i`he A§derman Law litan
9999 NE an Ave., Suite 2 ll 0 Miami Shores, FL 33138 s ph. 305.2(}0.5473 o t`ax. 305.200.54'!4

     

Case 1:18-cv-20l77-K|\/|I\/| Doeument 1-1 Entered on FLSD Docl<et 01/16/2018 Page 29 of 62

 

 

 

 

       

Case 1:18-cv-20l77-K|\/|I\/| Doeument 1-1 Entered on FLSD Docl<et 01/16/2018 Page 31 of 62

 

 

 

 

. From:.` . . 7 'Ismaelfl\_iaranjo

Ser:ti - - - ' 1 ' j " j__ j .` Fr`iday, October?? 201? 1.‘23 Pi\!i
To: '. 'j '. _ f `-Jason Aiderman_:.iulio Martinez ' ' '
tier _ _ _ ' _' _ ` f " . ` '.Tom santore _S_tevenvl_l _2elf<owitz;. iit/iac Gt§n_n; A§ica Bu_r_ch; Jon_at_han Maltz; Lazaro
j ' - ' _ " `Reniond; rsara_ia_~n@gjb ~._an com
- Siihjact_: jj '§f -`-` ?` -RE:QQ§%B NE Z,n_d_ A_ve.'. .' "

. Good atternoon_ivlrtniderrnan,: n

No,' l was riot aware that you represent'l_ulio' and AHE“'s.. Over the past two weeks we have met with Ju|i`o` several times
regarding the issue with the unsafe condition related to the egress door on the Ncri;hside cf the bending We have tried

_ every way possible to work with your client julia has failed to final a permanent solution to correct the problem this' rs
a fife safety` issue and thereby must be corrected immediatelv.

: i know the impact that an unsafe building witt have on all the tenants oh the building believe are it is the last thing t

immediate action to compited The reason that t told Jt_ilio ton my emaii from fletcher 2d 2017} to maintain the door
j operable from beth sides is because that is the univ way that the existing door will not have a problem

Egress_doo_rs, shoqu complied with the requirements of section 198 ot the 2014 Ftorida Buiiding Code; Building.

Thank you.7 '

 

lsmael Na_ranjo, B(}, CF|VE..§ `

Bui_lcling Direete_r

 

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icescnsaiave"' . - _ ___
' Miami$hores,FLBi-SBB _ f~ - -

ontaa-sg§ ?ss~zzaa §;_ f i 5 i

Fa><= assess-aia j" _

 

WWW.19191_11§;§“1111*91111§£999,99111

_ From: jason Aiderman §ma_iito iolderman@tnea|dermanlawfirm corn]
$ent: Thursday, Gctober 25 2917 91 23 AM ' ' z
'I”o: ismael Naranjo <_Naranjoi@msvfl gov>; juiio lillart_iriez <luiloiviartrnoz@hightowernigr co_m> z
121:: "i`orn Benton <BentonT@msvfi. gov>; Stovon ‘11’1/. 29|£10911`_1:: <51:9\19`11. 29fkowitz@_gray robinson com>; thzn; G_|i__nn
<tviac(:`si_inr_\@rnsvfl .gov>; Aiice Buroh <AlzroBurch@msvfl gov>'; _Jone`zt_han h/i¢ltz <]meit;@rneitz aW. i:om>~ - _ _ --
So¥s§oct: R:E 9999 l\lE 2119 Ave ' '

,19111991-

n AS you know I 111 J111io and AH_TEL 9 counsel I”Wiil bo _1'99;)1:1111:1111§ to your 911/1999 115 Woii
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l 111 also 91119_11;'111g yoii 119 9 want in 9999 311119111§

YOR Stdt€ in yOU.I`_ €md§l-“ bui_lCHHg wil_§ 119 older to be vacated §moi:iia£ely_ " |3191 l ()b`V'§.{)_U.Sly d()!l t have 10 n

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_ CIRCULAR 230 NOTICE To oompiy 111/ith U S Treasiiry Depétitn?ont and 1855 regu!aiions, 111/9 919 roo'oir_od to advise you
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Case 1:18-C'v-2_Ol_77_-K|\/|I\/| Document` 1`-_1 Ent_ered oin' FLSD Docket 01/16/2018 Page 34 of 62

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Cc: iason A|derman <§a§ti@rmaz§@&h@ 13111"11131;11.11111111‘:§1<_<1#1>'_
511|133&1:‘&:1_119:99_99 NE Zn_d Ave

Gond morning Ju¥io

A|i 4 doors cm this bui¥ding are designated as means i€eg_ress. This1s_1§ot a game ‘1’1:111 must take immediaie action 211 -
keep the doors operationai at ali times 569 emaii beiow dated 10~24 201? ` `

_“fh@f§'< 1011 1 :

' _ Sen`t 'ir<_)m nw iPhQne
011 Oct 25 201?, 31 6:04 PM Jé_iio'|‘viér°f;inez §JLi|iz`)Martini-:_z_@11115111`§111@1”11"1;§1.1:1:1111> Wrr)te:

_ |\/ir Nar_anjo the __egress door` 15 in compiying With Fi0r1da Buiidifig Code and N§iami Dade Cou_m\; Cc>de for
the Parti¢:uiar fdccupancy ihey are the front and back doors of the buiid§ng, The side doors if you are
referring to this one are emergency exit gier ONLY. `

i~r<_zrra: |srri_ae| Nara:)jo{_n§ 21111€1 Naran§§:: @1§§111;1¢1§§1_;1§{}

S@en‘t: Tuesdav, OEIQber 24 2017 3112 Ai\!l ' _
`§”0:.1111§0 Martin_ez <:J11iloi\fiartm§?@?‘zrgi:l<§\wlz' 11§_;1§ 1:_§;_1_1:11>; iuiioi\fiartmez@shorewewcenter 1;_0_111 __
Cc: Tom lisenth <§31__ _ _§§,»;§§__._,§§;§§1_>_»; Lazam Re_mi)nc| <_§__ ____11;1_~_1_§_11_§_§§1.‘1\_1>_»Arienis Siiverzz
<§i,§§:@r1121@,11?1§11£1111;111> ` " ' ' `
SUbject: 9999 NE 2111:§ Ave.

   

.Goc)d mcrnir§g}uiib,-'- -: § n

The conditions Of the egre$$ dow at 9'999- NE 2"‘j Ave- creates hazal'dS-Wi'rh respect w means of egress and _
_ 'fi:c: protection as provided under fha Fir:)rida'Buii ding,‘ Cc)de and Miami Dade County C‘ocie §`01 the particular
_ Occupancy `Yr)u aia hereby erder §1) maintain the egress door open ai ali time The door should be operab]_e:
from both sides without the use of 11 k_ey,__ §ooi and or special knowiedge Pz§iiuw to comply with th§s order

' ;' 1151-1011 -
ismael N_;§_r_a_r\j_<§),-B_O,-CFN| z 1 1 n
zBuil;:i:inngir§¢>.-ctor;'_':   -- n j . ` _j § j j
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';11;10§.0 N`E 2 11qu _ _ z z
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m 395?§.689?2 ;

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_ _$6`6¥:_: Tu`esci_av, October 31 2012 12:1'.)? _P_i\_ri_ ' j ;_; j
_T¢_): lason alderman<161666666@ihm§¢immaniawivm11661> 111E36Mz6it:1f'i62@siiorvvm\vr,vritvr 1;61;1

 

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. Subjecii:_ 9999 i\|_§ 266_1\`\_¢6:§

' 666€_1 moming__ iV_ir. Aldeir_nan,_

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"E‘hank you,  
lsmael Néranjo, B£}, CF|V£_

Buiiding Directm.

 

Miami$hnrés V§l'!'age_ - l

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f Miam§ shores, z=@, amax ; `

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' Mi§miShcr§s F|orid§ 331_33

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§§§§§§ §§§.§s§§; 1 """
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_ case N§M§§§; u§»:¢.§-_:i.?§§§z ii :
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_ §§i..i§: 11¢§§§§~0$1§§¢1§§

`- - _Y{_;il,i ARE HEREBY _NO?"IFlED that §§ ins§§ction of th§ §b§v§ §r§mis§§ r§v§§i§d tii§t time _ -

: windst`§l"m hazard §r ar§ oth§r_wis§ da§g§¥ous to human iif§ or pubiic W§Ef_§r§ by reason _of- l

illegal or improp§i‘ us§, occupancy or m§i'§¥§n§§c§, or which have b§§n substantially damag§d_.

 

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. A permit shail be obtained to bring the building into compliance with th§ applicable c§des §`5. f `
§ ` provided h§r§in 'Fh_§ buildings within this prop§;'ty_ should be vacated immediately and n'b §n_§ _ -- -

z may §n`t§r of §ci:u§i§__d the building with§ut authorization from ti\§ Njiiami$hor§s V§liag§ _ ' j
-BuildmgOff'ci§| : _:j _. _-; ij

";vwldmg §.j- - -- ';::'

S§ctio§ 8~5 Of the Mi§mi D_ad§ County C§r;l§

 

 

 

   

Case 1:1_8-cv-20_177-K|\/||\/|1 Do¢ument_l-l__ En.terec| on FLSD` Doc_l<et_ 01/16/2018 Page 44 of 62

(11) Gem_zml.: . . - - . . .
1(2}1 B_Lliiding$ 1111 51111¢:111`1¢$\!1111 m'e, _01 _l11:reerer shall become, unsal`e, unsanitary or deiiciem'
- -fa§ilicles with inadequate means of Egress, or which constitute 11 1116 111 windstorm hazard,
111 are otherwise dangerous 111 human life or pllljlic. Weli`are by mason of illégal 01 '
- improper use,_ occupancy 131 maintenancé, 01 which have been substzmtially damaged by
' the elements`, acts ot`Gnd,_i‘ue, explosion or otherwisc, shall be deemed unsafe structures
_ 1 and a permit shall he obtained 10 demolish the structure 01 where specifically allowed by
- f this sec11£111`11. 10 1111111;1111"111 b111111¢1i1i11g11111111)11c11111'1p11111111se with the app1ll`1:abl1e cod§.¢z 1111 provided
- herein - _ ______ _ ...... .

n z '(_b} Pl'_ly:._‘l`cal criteria . . . .
l.. A huiiding shall 1111 cleaned a fine hazard and/or unsafe 11111€11:_

{ii_i} 'l` he buddng condition creates hazards with respth 10 means of 1e,gmss and
fire 1111'10111;*.11>111111 as pmvided herein fur the particular Crccupmicy.1-

(3) A building 111 pari thereof shalE be presumed 10 be 11113`111`1`1 11`:

(iv) By reason of illegal 111 impru`pm use occupancy or maintenance does 1101
' comply univ tile Building_, Cr_ad_c,' or- tha code 111 effect at the time of 110115111111111111. _

REQUlREMENiS EOR1 1CO_RR1E1C’H1C}N:§

Rémove the i§cking hardware from the door untii 1115 131;1111' 15 permanently mpaired 111 11111131:1111.
li replacing the door provide plans with details and specifications 113 required under sentimn
102 111 1115 5"`"_ Editicm 111th 2014 Fiqrida 511‘1|1:1¥111@ Code, chapter B- 110 of the W_li_ami made
. _Courrty Co¢.:|e and Wliaml 5hores Viilage Cod§ of10111in1ar1ces thain rquired permi15, pass
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ln the event furti191 clarification 111 assistah¢e 15 required please cnniac_t lsmael Naranjo B. 0 at
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' . |$méel Naranjo, B.{}j . . -` '

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ch@ml:;cr 3, 2017

Via U.S. l’lliail and Certificd l\/Iail
l.\/lr. ismael Narzmjc, B_uilding, Ol`i'icial
l\/ls. Ysr_rl:)ely Rocl'rigu_cz, Villagc Clcrl<
-l\'liami Shcrcs Village:

10050 NE 2'“! A\_rcm_ic

Miami Slicrcs, Flcrirla 33 l 38

R'F.: CASE NO. UB~I()-}?-M`(i£
Shorevicw Ccn£cr
9999 N`E 2“‘* Avc
Mi:zmi Shores, Ficrirla '33133
}"ciic: 13-3206-013“449(}

RE: RE: N{}'I`ICE_O.F APPEAL (}Il" ¥)E_CLARA'I`ION DF CAS§§ l\l()., UB~ll)»'l.’?»-Z¢§GZ
'.i`c liuilcling foicial lsrnacl l\lzrremjc mad thc Vl'll_agc C]crl<t

”i`his firm is litigaiion counsel to A.l~l`l}l l{czilty A::§:<)c-., l\rl.¢C (“Al"lE"), cwricr cf thc
Slicrcv§ew `Builriing (th<: “Buil<llng”). .Tliis letter is written tc fhc both cf you 111 your capacities
as the Builrli'ng {)l`iicial for llic Villzzgc ami tire City Clcrl<.

rl`lrc purpc~se cf lhis letter is preserve and aS-Scrt AH.`E’$ ri ghts tc a due p.rcccss hearing and

an appeal ol`thc Villa;:c.’$ declaration cf the Building as an “unsafc ctructurc“ and lo exhaust amf
administrative rcmcdics il mary possess concerning fhc V.illagc’s acticnS.

 

Rcl"erczacc is made rfc Scctioc 8»5 cf thc l`\fliami~l;)aclc Cour:ty flch (°'“MDCC Ccdc”)
governing "‘Uns'af`c' Structu'rcs;”

My client has been intentir_)jnally denied basic due process rights by the thlcsalc, Willl`ul
and malicious lhilh:rc cf the Vill_`a_gc cf M_iam-l Shcrcs (thc “Vi§lag,c”) to comply with Secticrr 8~5
cf the MDCC Cc)rle, Flcrii;l& Statu'tes -1-62.0.`1, el, seq,, as well as the Villagc’s malicious and
unconstitutional application cf S`cc-;lio_c 3-5_ t_c the Builcling, Althcugh a Building C}f’ficia_l is
provide Wi_dc'l_alifudc in many instanccs_, the consii'tulicna-l guarantees provided under the liedcrzrl
andSlaic Cr)nsifitu£i<m, Fla. Sl;'at. léZ.O-.l-, ct. Seq,, as'well as Section S-S'its;clf, significantly cllrtai!si
such latitude by prohibiting 'a Buildin_g (')ffici;r_l from selectively enforcing a code cr c)rc§irrancc cr
enforcing Szi_m_c iii an arbitrary and capricious manner

The Vil-lagc’s actions have jeopardized a multi~millicn dollar mortgage, over 30 lease
agre:cmczits, and hac tire potential cf creating tang of millicnr» cf dollars in damages 10 Miami
`Slrcrcc brrsiriesscs, `Givcn the Villag'c’$ rescission cl" the underlying notice5 and ferilr.rrc 10 provide

S!zr)revicw C`ccrtcr " 9999 NE, ZZ`JA\#cnuc * Suilc 2l1 9 Miam§ Shm'cs, lilcrida§§l:'§i§ 9 OFf`l<:c-:: 30§.2(}{}.5473 * F'.L.x: 305420@‘54?4
§§le "l.'l"i Ef’l_l.rl)l'.*: l?. Nl AN bA\X_’FP l R-l\*l. (: 0 i\/_l

 

 

 

 

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Miaini Shores `\/illage
Novemher 3, ZGI ?
Page 2

basic due process rights on the Inal;tcr, AHE’s position is that there are no further administrative
remedies that it most exhaust as a condition precedent to perfecting any legal claims and filing suit
in circuit connx Notwiths'tanding thc villagc_’s rescission this letter shall serve as a demand for a
due_orocess hearing to contest the `Viilazze’s actions and an aoocal pursuant

The Viilagc’s improper Declai"ation oi' Unsafe St_¥~acture Status

On October 3{}, 201?‘, the Village, through its Boilding Ol:`ficial, ismael Naranjo, posted an
“Unsafe Building" orange notice fdic ‘-‘Notice"’}. i?or ease ofreference, a color copy is enclosed
herewith as Exhibit I. The Noticc inter alia designaics the Shoreview B'uilding as an “unsafe
structure.” liurther, on its face required the immediath evacuation of the Bui'lding.

On the same date, the Viliagc, once again through ismael `Naranjo, sent a letter (the
“l\iaranjo lsctter”) to AHE Realty’s l\'/ior_tgagc Trnst Cornpany City l\iatioaal Bani< oi`Fia, notifying
it of the Village’s action A_co_py oi"this letter is enclosed herewith as Exhibit 2a

The Notice is silent as to the purported condition underlying tile Yill_age’s declaration of
Bu'i-ldi-ng as an “onsat`e sn'uctc_re.’” Cornrnunicatious between Ai-`li_i’s building manager and counsel
over the preceding three {3)` weeks confirmed that the “'issuc” invoivcs'the purported failure of the
tire exit door on the northside of the building to properly open1

On October 30, Z{li?, certain measures were taken relative to the door alter consultation
vvith the City h/lanager. A video ot`the door opening was sent to lvlr. Naranjo and the City l\/lanager
on Octohcr 31, 2017.

On October 3 l., 201"/', the Noiice Waa removed from the .Boilding,._ i\/lr. l\iaranjo rescinded
the Notice. The rescission of the Not`icc Was confirmed in entail, a copy of Which is enclosed
herewith as Exhibit 3a

On_i\lovenni:)er 2, 201’7_, after the conclusion of a Code Enforcernent Boar_d Mecting at City
i~iail, the City A-ttomey indicated in a conversation witnessed by several people,, including myself

that the City had every right to declare the Buildin_g “.llnsafe,” a conclusion reached prior to mv
client being genni.ttcd any hearingor due grocess on the matter.

AHE"$ Demand for S'tl'ict' Compiiancc Wii-h Fia-. Siaf. 162.01, et. seq,,
Scc. 8~5 Notice and floating Reqoi'rements. and A.HE’§ Due Pr'oc'ess 'Rights

l\/lr. Naranio and the `No'tice failed to comply With MD Code Section S-S(h)(Z) in that:

i. Mr. i_\laranjo failed to prepare an actual “Notice ot`Violation”;

 

1 AH`E, intentionally omits from £hEs letter any explanation or legal analysis as to Why the Village’s
iiiten)reiation-and application of Sectiou 8~5 to render the _Btrilding “unsai`e" is patently absurd The Viliage'ioiows
very well that its attempt to “strong arm" AliE’s building manager is without any basis in law or fact

Shorcvicw Ccnter ° 9999 l\lii 21“f !\vcmic ° Suitc 21 l *_lvl_iaini$hores, Fiorida 3313~8 *’ Ufli_c_e: Z{i__‘j.iilil.§d?§l 4' lime ?;{}5.26(].5474

\`\? Y'C/W.”l` l"l l`f`,§?\ I:. i.) l.",R ivi A l\i l,A \X/' iii ll i\'i l CO lvl`

 

       

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l\/llemi Shores Viliage
Nove_mbe_r 3, 2917
Page 3

2. The Notice fails to set forth iri summary form the nature of defects which constitute
o violation;

3. The Not`ice fails to prescribe the action to be takes to comply and the time Withio
the which the compliance-must be accomplished;

¢i, The l`\lotice fails to explain the right ot` appeal of the decision of the Buildiog
O'i`iicial to the Uiisafe Stroctoree Board or so linsaf`e Structures A_ppeai Panel;

5. The Not.iee fails to advise'that unless compliance with the directions of the Building
O-i"ti_o_ial a case will be commenced before the U`nsai"e Stroctttries Boar or ao Unsai"e
Stt'o`ctures Appeal Panel alter time for compliance has expired or that the `Boilding
Gi`iicial’s order Wi'll be enforced; and,

6. Lastly, for reasons which will be the subject of the Civil Lawsuit against the
Viilage, Mr. Nat‘aojo erroneously, maliciously, and/or in an arbitrary and capricious
manner shut down the Shoreview Buildirig without providing A`i:~liE due process and
more importantly, intentionally end maliciously misapplied the Couoty’s Unsat`e
Sttuctore Cotle, Seetion ii.§. '

€)noe again, AHE hereby demands that the Viilage comply with the due process
requirements ol`- limited States Constitutiori, lilorida Cotistitotion, Flori'da Statut_e l62.0l, ei. seq.,
and in more particular1 the _l\fliami»l:)ade Cou_nty Code set forth itt Section 8»5` rl`his includes
issuing the proper notices, providing my client with a doe process hearing and the right to an
ensuing appeal, and provide notice to the proper parties and addresses i\/iy client Wili need six {6)
hours of hearing time to rebut any evidence put on by the Viiiage. We intend to call approxin'iateiy
ten (l-`O) fact witnesses and Will_ he providing expert witness testimony

raile underscores to the Viilage that, to the extent Mr. l\lara`ojo relies on the “emergency
actiori” provision-set forth in Section 8(5)(® to justify his actions of failure to provide notice, that
provision only permits “suspension” of notice and hearing as “reesonably necessary,” not the

wholesale elimination oi`a hearing and du _roeess.
-_ S`i cerely, . W_ MMMMM .
n n w n ,,MWW”MM

ason 'Ri Aldei'_men

  

JRA/em
Enclosures
ce: lvir. Torn i:`lentoo, \Jillage l\/iao'aget'

l\/ir. little ii\./i`art`inez, liuildiog i\/laoa'ger
Ricitard Sarat`ao, Est;.

Sliot'eview Cci_it'er ° 9999 N_E 2“`j é\vcriue ° Suitc 21 l ° Ml:uui S.hores, §"iol_'i<_ia_' dzing °. ()Fiice: 3(]5.20[).54?';$ n iisx: 305.20{).3/174

\\'f' \‘i" ‘\\’! .- "l" l-l l.:i. A L'i:`) li R` i\/i il N i,. :’\ ‘\`-if ii i R tel ..(`_`, 0 l\’l

 

         

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i\/iiami Si'iores \/illage

B'ullcimg li>epzari;merzi:
10050 N.E.2ncl A\/enue

Miami Siaores, Fiorida 331`33
T€E: (3{)5) '?"96.2204

F~`ax: {305) "?56.8972

MN§§;E§§MM

D`A”¥§£: {Bctober 30, 2017
CASE'NUMBEH: UB»§G»U*Z£SGZ

'¥"Q: City Nationa| Bani< of FLA
25 \`N, Fiagi`€l‘ St. #?11
Niiaml, Fiorida 33130~1713

RE: Sh€)review {fenter
9999 l`\EE Z"d AV@.
l\fli`am§ Shc)r`e.‘;, Flcrida 33138

F{)§.i{§: 11“3205~013“4490

YOU ARE HEREBY NOTEF\ED that an inspection ofthe above premises revealed that the
buildings Within this property is as defined under section 8~5 of the §\/iiami Dade Count\; Code
unsafe, or defici@nt, facilities With inadequate means of egress, or Whi.cii constitute a fire or
Windst_orm h_a_zard, or are otherwise dangerous to human life or public Weifare by reason of
illega|`c)r improper use,_ occupancy or maintenance, or Which have been substantially damaged
A permit shall be obtained to bring the building into compliance With the appiicabie codes as
provided herein The buildings Witfhi`n this property should be vacated immediately and no one
may enter or occupied the-building Without authorization from the Miami Shores Vi!lage
Buiiding Offticiai.

'Type of Vio_|a“t_i_on; Fa§_|i,ire to maintain adequate means egress on the worth side of the
building

Secticm 3»5 Of the l\.»'iiami Dade Count\/ Cocie.

 

 

       

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(a) f}enerrzl.

{2) Biiililings or structures that are, or.hereafler shali bocome, unsafe unsanitary or clo_l"icient,
faci§i£ics with inadequate means of egress, or which constitute n fire or windstorm hazarci,
or erc oiiierwise oangei'ous to human 'iifo or public welfare by reason of iliegal or
improper usc, occupancy or maintenance or which have been substantially damaged by
the clemenls, acts of Goci, fiic, oxoiosion or otherwise shall be deemed.unsafe.struciures
and a permit siinii` be oblained'to demolish the-structure or Wlie.re spocil`icaiiy allowed by
this section, to bring the building into compliance with inn a§p§icnbic codes as provided
bcrcin.

(b) Pfiys‘icrzi criteria
1. A building shall bc deemed a fire hazard and/or unsafe wlzcn:
(iii) The bonding condition creates hazards With respect to means of agrees and
fire proicoiion ns provided herein for iho pnrl-icniar GCcupancy.

(3) A buif<iing, or pari thereof, shaili`bc presumed to be unsafe if:
{iv) By reason of illegal or improper uso, occupancy or maintenance does not
oompiy with the Builriing Codo, or the code in effect at the time of construction

REQUIREMENTS FC}R CORREC`TH`)N:

Remove the iocl<ing hardware from the door until the door is permanentiy repaired or reoiaced,
ii repiacing the door, provide plans With details and specifications eis-required under section

107 of the STH Eclition ofthe 2614 Fioricla Boilclirig Cocle, chapter 8~10 of the i\iiian'ii Dade
Coursty Cocle and Nlia'nni Sbores Viilage Code of Orciinances. Obtain required permits pass
required inspections

in the event further ciarification or assistance is requ`ired,- niease contact ismael i\ia`ranio`, B,O at
{305) ?9§»2204 between the hours of 8:36 A.M. and 5:90 PEV|. or by e~rnail to bo@msvfi.gov

Tiianiiyou for your cooperation in this matter.

ismael Naranjo, B.O
Bui|ding Director.

l\/iaii Date- i\/‘laiiecl:

By: Return Receipt` Number:
Posted

By: M_M

Date Posted:

 

   

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F'f¢m= manatee-triton

Tm mmaetlttetetiio

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§§ris,ot.$t)lmeoo

Sub§ect: s_ze_; 9999 rig zn¢r Av@.

better Toesday, OCtober 3.!. 201? 1:02:15 itt/l
otw€lrmelll¢i= Q&MMMM

 

Thenl< you. Url_de'r Seot_iorr 8~5 of tire Coun£y Code rt building official may only "Suspetrd" doe
prooess. Moi'e importantly there ore certain required ci_isoiosures/ information which your
notice did not comply with/ failed to contoio, as wolf 213 less restrictive enforcement oriteria
(elositrg of hallway serviced by fire exit) than complete vacation of the building (e:ssu_miog 8~5
-rrppiied orr the first -instance). We earn agree to disagree orr your authority/ lack of authority to
have taken i_he action you did,

We intend on appealing to the board the issuance of the notice. I respectfuily request that you
Compiy W fire remainder of the notice requirements.

Thartk you and-have a good day.
8th from roy iPhone

On Oct: 31, 20173 at '12:55 PM, ISmae§ Naraojo <i§lottlrtiol@m§y_£i.go_t£> Wro:e:

Crooo afternoon Mr. Aiderroorr,

Wheo leary that the unsafe boi§eiirrg notice has been removed, l meant that the
requirement for correction noted on the unsafe bonding notice has been r_:oreo, the
ooti€e Was recinood. `i“tre actions taken to correct the violation Seti§iy tire requirements
for the means Of egress. Atteched please find a copy of the unsafe notice l entailed you
tresterc:layg the notice rottects'the ease nomber are UB~lO-lY-Zil€>?~i

Tharik you.
tsmael' Nararijo, BO, CFiVl
Buil_ciing myersth
cue 9'999 NE zncl eve..docx>
Miami Shores Uilioge
100`50 NE 2 Ave
Niiami Shores, FL 33138
Ofiice: 39&1£5;;;§_4
Fa`)t: ML§§_B§ZZ

. . l .g .

ifrom: lasorr Aide`rmarr imoilloijitld££oloo@,£b£ai_d§.mldul£iwfttm&mi

sent: tuesday october 3.1, 2017 12122? Prvi

To: lsrrzae§ hierarth <l§i.atoo,io|'.@m§ztfitg_oit>; LLUQMI§M@§MW;UQLQQU

Cc: Tom Bonton <B.QQIQDI@MILSQ!>; Lazaro' Remortd <r§;m_onr;ll@gg§yfi goy>; A_r§onis

 

 

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Si|vera <SilvereA@msvil.gov>
Sobject: RE: 9999 NE 2nd Ave.
'importanee: Hig?i

ismeel, we need to be very clean

Wheo you say that the “onsefe building notice has been
“rernoved”, you mean rescinded soil tile-building is now a Sefe
stroei:ore?

Aiso, your notice did not provide a Case Number for either the
Miemi-i)ede County or Miami Shoi‘es Code .Eoforee'meoi:
Boei'ii (W-hieh if don’i; believe handles unsafe structure
declarations), Cao you either provide the case number Wii:h
Miemi»Dsde Coun:ty Uosefe Si:i'uc'ioi'e Bozird or Miemi Shores
Code E'nfoi'eement for your “noi:iee” or eo:ei`ii~-m no esso
number exists

ja

jason R-. Aidetmao
The Al<iermen haw Firm

9999 NE Secood Avenue, Suite 211
I_Vliemi Shores, PL 331?)8
305~20{}»54'73 M_ai'n Llne
786~464»-0192 Dii‘ect L-ioe
3_95-209»5474 Fecsimile

   

 

<i_mege{}(i?;.jpg>

CONF"»'D£~ENTIAL!TY NO TE: The informaiio_n contained in this iransmi$oiof?_is Pn'viieged and
Confidentieil informaiion intended only for the use of me individual or enfffy named above if
the reader of this message is not the intended recipieni, you are hereby-notified that any
ciisse.rm`nainonl distribution or copying of this communication is strictly prohibited if you have
received fhis transmission in error, do not reed ii: P!eess immediately reply-fo the sender
that you have received this communication in error end then delete il_ Thanic you.
Ci‘RC£-JLAF? 230 NOT!CE; To comply with U.S. Treasory Depei?menr end !FFS iregi,rleliensl
we are required to advise you met unless express!y'stated otherwise any U.S. federal rex
advice contained in lois e»moii, including attachments fo this e-meif, is not intended or
Wriiten to be used, end cannot oe;use_d, by any person for.the purpose of (i) avoiding

. penalties under five iJ,-S, internal Fievenue Code, or (ii) promoting marketing or
recommending to another party any frensection or matter addressed in lois e-meil or
attachment

 

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me: ismael Naranjo §MMQMM£§MM£§M
Se_nt: Tuesday, October 31, 2017 3`2:07 PI\/_L

To: jason Aiderman <MAM@LUQQLQQMMMMM>;
. [ q § l _ . . _ _
Cz:: Tr:)m-Benton <Ml@m§y&ggg>; Lazaro Remon-d <L@L@Qg;jl@nl§vfl ng>-; A:'|enis;

'.Siivera <SNQLQA@LMM>
Su¥:xject: 9999 NE 2m:1 Ave.

GOOG morning Mr. Ncler:man,

A§ a result Of the inspection performed today the unsafe builci§ng notice has been

removed

Thank you.

ismael Naranjo, BO, C§°`N\
Bui!ding Director

<UB 9999 NE md Ave..docx>
Miami Shores *Jifi_age

1(}£350 ME 2 Ave

Niiami Shores, Fl, 33133
foice: §§J§;M§

an):: S.QSM
Mm§ml§hgm§xiilag@&§m

<:UB 9999 NB find Ave..dt)cx>

<UB 9999 NE 2nd Av'e..docx>

 

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é§;_ __

 

 

 

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MEAM§, 1711©§'-2`1§31=\ ;;1.3:.?-11
C;§<;>_&~j§} :31¢:1'&9-\?£3€)1) .- 1.31;).¢5> .';1.¢1-$;»)-‘,2? 310 i§-`~'”A>®

Richard Sarafan
11)§1'@1:1 1,§11@: 305.3~‘19.23 18
Direct l`a)<: 305.428.8828

Novomb€r 9, 2017

§§ U,S¢ M_ai§

and E`ma§l 1oldorman@thcaid'§:z*manlan'firnncoo;l
.l`ason Aidorman, 133111 l '

'I`ho Aldtn'rnan law 1*`11‘111

Shorev'iow Contc:i‘

9999 N}li 211d Avoouo, Suito 21 1

Miami Sho;‘o$, 11`1,`33138

.Re: Notioe of Ama'eai of Dociaration ofCaSo No._ 1113~`£‘?-2462
Dea-r Mi'. Alderrnan:

A's Yolz alo aware l am the Mi_ami _SL 101‘€3 Vil§age Atto:‘ney. Wo acknowledge receipt of
your “Notico off Appoai of Deoiaration of Case No. 1113 i{)- 17-»2462”’ omaiied to the Viilago
Bui§din_g Ofi`tcial and Viliago Clork often 5 00 11.111 on F1‘iday, Novombm 3 2013

AS I am siuro you undefstandj, the Viliag_o disputes much of what is contained 111 your
omaii._ You_r omail itseit`, and the attachments thoroto, nee-ms to confirm that the 1311i1di11g ()fHoiaE
had been 111 communication Wi'th your client’o ropLeSontntivo f’or Wee'ks flying to got your client
to comply with the clean pmvisio:is of Ea'w being violated by 1116 locked too exit door wi 1110111
success Uitimatoly_, 111 acooic§an_c_e with his duties as B:zilding Oi`fio§al M: Natanjo took
np})io_pr`iato action modes the Un$a_f€ Struotuzea ps.ovision's available 10 him A}rnos{ 1111111odialely
thor'ea`ftez_t_, your ciieni corrected the Violat.ion, and, upon that fact being confirmed by Mz'.
Naranjo, ho in turn confirmed that the violation had been corod. Undor ali of the circumstances,
Wo are a bit confused about exactly what it is you now are seeking io'you_r omaif.

1 k '
Qv(i\ 13\`3

 

 

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ch.s'or.' Afdermcm, E.s‘q.
Nove¢))i)er 9, 2017
Pcrge 2

_¥~Io'wever, it is at least clear from your ema§l that you des§r€: to pursue an Appe.ai of the
Building Ofiic;ial‘é: determination

Accorcli.ug¥y the Vi§.la'gc: has notified the 'Br:)arcl Acimini-Stration Sec_tion of the Coumy*s
Deparlment that deals With the Co\.mty’s Unsafe St_mcturc$ Bom'€i and is forwarding.them a copy
of your N`()tice off App€:a¥, Upon the County’s receipt and review %'here'<)f we understand they Wlil
be contacting both the Viilagc and you directly to provide information as §0 how the matter wili
be addressed Thele you.

\fery frady yeur~‘i»g

Richard Saraf"an

 

RS!dz'
cc:: ismael blaman {v§a enmi)

(?7€ S‘GUT f 2796342 l #9?24)

       

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